            Case 24-03767-5-DMW                    Doc 1 Filed 10/29/24 Entered 10/29/24 15:07:33                                   Page 1 of 8


Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                McConnell Road South -- GSO, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1427 Military Cutoff Road, Ste. 208                             610 Pembroke Road #10007
                                  Wilmington, NC 28403                                            Greensboro, NC 27408
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New Hanover                                                     Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  5200 McConnell Raod Whitsett, NC 27377
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
            Case 24-03767-5-DMW                       Doc 1 Filed 10/29/24 Entered 10/29/24 15:07:33                                         Page 2 of 8
Debtor    McConnell Road South -- GSO, LLC                                                            Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 2
            Case 24-03767-5-DMW                             Doc 1 Filed 10/29/24 Entered 10/29/24 15:07:33                                     Page 3 of 8
Debtor    McConnell Road South -- GSO, LLC                                                                Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
           Case 24-03767-5-DMW                     Doc 1 Filed 10/29/24 Entered 10/29/24 15:07:33                                     Page 4 of 8
Debtor    McConnell Road South -- GSO, LLC                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 29, 2024
                                                  MM / DD / YYYY


                             X /s/ Zachary Tran                                                           Zachary Tran
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X /s/ Charles M. Ivey III                                                     Date October 29, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Charles M. Ivey III 8333
                                 Printed name

                                 Ivey, McClellan, Siegmund, Brumbaugh & McDonough, LLP
                                 Firm name

                                 305 Blandwood Ave
                                 Greensboro, NC 27401
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     336-274-4658                  Email address


                                 8333 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
              Case 24-03767-5-DMW                  Doc 1 Filed 10/29/24 Entered 10/29/24 15:07:33                                               Page 5 of 8


 Fill in this information to identify the case:
 Debtor name McConnell Road South -- GSO, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                           Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Guilford County Tax                                 5164 McConnel                                          $13,727.11                        $0.00              $13,727.11
 Dept.                                               Road
 P.O. Box 3328
 Greensboro, NC
 27402
 Guilford County Tax                                 5144 McConnell                                         $12,242.23                        $0.00              $12,242.23
 Dept.                                               Road South
 P.O. Box 3328
 Greensboro, NC
 27402
 Kimley Horn                                         services rendered                                                                                         $140,681.92
 P.O. Box 932514
 Atlanta, GA 31193




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
         Case 24-03767-5-DMW               Doc 1 Filed 10/29/24 Entered 10/29/24 15:07:33                            Page 6 of 8




                                               United States Bankruptcy Court
                                                 Eastern District of North Carolina
 In re    McConnell Road South -- GSO, LLC                                                       Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     October 29, 2024                               /s/ Zachary Tran
                                                         Zachary Tran/Manager
                                                         Signer/Title
        Case 24-03767-5-DMW        Doc 1 Filed 10/29/24 Entered 10/29/24 15:07:33   Page 7 of 8



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Allan Rosenwiegh                       NC Dept of Revenue
146 Churchill Road                     Attention: Bankuprtcy Unit
Tenafly, NJ 07670                      P.O. Box 1168
                                       Raleigh, NC 27602



Guilford County Tax Dept.              Tim McCullen
P.O. Box 3328                          508 Island Drive
Greensboro, NC 27402                   Beaufort, NC 28516




Internal Revenue Service
Centralized Insolvency
PO Box 7346
Philadelphia, PA 19101-7346



Kelsey James, LLC
1137 Championship Road
Oceanside, CA 92057




Kimley Horn
P.O. Box 932514
Atlanta, GA 31193




Maynard Nexsen PC
Brooks F. Bossong
Post Office Box 3463
Greensboro, NC 27402



Meritage Home Corp.
Attn: Legal
8800 E. Raintree Drive, Ste. 300
Scottsdale, AZ 85260



Meritage Homes of the Carolinas
3300 Paramount Parkway, Ste. 120
Morrisville, NC 27560




Moritt Hock & Hamroff LLP
Marc L. Hamroff
400 Garden City Plaza, 2nd Floor
Garden City, NY 11530
         Case 24-03767-5-DMW           Doc 1 Filed 10/29/24 Entered 10/29/24 15:07:33                    Page 8 of 8




                                          United States Bankruptcy Court
                                             Eastern District of North Carolina
 In re    McConnell Road South -- GSO, LLC                                             Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for McConnell Road South -- GSO, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
ZT McConnell South, LLC
610 Pembroke Road #10007
Greensboro, NC 27408




  None [Check if applicable]




October 29, 2024                                 /s/ Charles M. Ivey III
Date                                             Charles M. Ivey III 8333
                                                 Signature of Attorney or Litigant
                                                 Counsel for McConnell Road South -- GSO, LLC
                                                 Ivey, McClellan, Siegmund, Brumbaugh & McDonough, LLP
                                                 305 Blandwood Ave
                                                 Greensboro, NC 27401
                                                 336-274-4658 Fax:336-274-4540
